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April 13, 2021

VIA ECF

Hon. Kimba M. Wood
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:   United States v. Sal Castro, 19-cr-116(KMW)

Dear Judge Wood:

       I am assigned counsel for Mr. Castro in this matter. Prior to my appointment
in this matter, Mr. Castro plead guilty pursuant to a plea agreement. Following
multiple changes of counsel, Mr. Castro submitted a pro se motion to withdraw his
guilty plea. After having the opportunity to confer with Mr. Castro, he respectfully
requests to withdraw that motion and proceed to sentencing. I am requesting a
sentencing date approximately 60 days from the date of this submission.

      I thank the Court for its attention to this matter.


                                       Very truly yours,




                                       Daniel A. McGuinness

Cc: All Counsel (via ECF)
